           Case 2:20-cr-00190-RGK Document 70 Filed 11/20/23 Page 1 of 1 Page ID #:393
MICHAEL J. MORSE (Cal. Bar No. 291763)
AUSA, Public Corruption and Civil Rights Section
312 N. Spring St.,
Los Angeles, CA 90012
Tel. (213) 894-7367


                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                              2:20-CR-00190-RGK
                                             PLAINTIFF(S)
                             v.
EDGAR SARGSYAN                                                       NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

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[PROPOSED] ORDER SEALING DOCUMENT; UNDER SEAL DOCUMENT; GOVERNMENT’S
SENTENCING POSITION




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 ✔        Under Seal
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          Per Court order dated:
          Other:




November 20, 2023                                             /s/ MICHAEL MORSE
Date                                                          Attorney Name
                                                              United States of America
                                                              Party Represented


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